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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re:
                                                Chapter 7
 MIDNIGHT MADNESS DISTILLING LLC,               Case No. 21-11750-MDC

                              Debtor.
                                                Adv. No. 23-00047-MDC
 ______________________________________

 BONNIE B. FINKEL, in her capacity as
 Chapter 7 Trustee for Midnight Madness
 Distilling LLC,

                              Plaintiff,        Civil Docket No. 2:23-mc-00136-JMG

          v.

 CASEY PARZYCH; SHAWN SHEEHAN;
 ANGUS RITTENBURG; KELLY FESTA;
 ASHLEIGH BALDWIN; MICHAEL BOYER;
 R.F. CULBERTSON; GARY PARZYCH;
 RYAN USZENSKI; POLEBRIDGE, LLC;
 GOOD DESIGN, INC.; AGTECH PA LLC;
 AGTECH VI, LLC; XO ENERGY
 WORLDWIDE, LLLP; XO EW, LLC; CAN
 MAN LLC; BEST BEV, LLC; ETOH
 WORLDWIDE, LLC; CANVAS 340, LLC;
 FINLAND LEASING CO., INC.; and
 EUGENE T. PARZYCH, INC.,

                              Defendants.


                                ENTRY OF APPEARANCE


          Please enter the appearance of MARIAM KHOUDARI, ESQUIRE on behalf of interested

parties Casey Parzych; Shawn Sheehan; Angus Rittenburg; Kelly A. Festa; Ashleigh Baldwin;

Michael Boyer; R.F. Culbertson; Polebridge, LLC; Good Design, Inc.; AgTech PA LLC; AgTech

VI, LLC; XO Energy Worldwide, LLLP; XO EW, LLC; Best Bev, LLC; Etoh Worldwide, LLC;




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and Canvas 340, LLC in connection with the above-captioned proceeding.



 Date: December 27, 2023                         ARCHER & GREINER, P.C.

                                                 /s/ Mariam Khoudari
                                                 Stephen M. Packman
                                                 Douglas G. Leney
                                                 Mariam Khoudari
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                                                 1717 Arch Street, Suite 3500
                                                 Philadelphia, PA 19103
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